Case 3:18-cv-17195-RK-JTQ
          ORDER           Document 160 Filed 06/14/24 Page 1 of 2 PageID: 2123



LINDA WONG
Member of NJ, PA, NY, VA and DC Bars

                                                lwong@wongfleming.com

                                                      June 13, 2024

VIA ELECTRONIC CASE FILING

Honorable Magistrate Judge Justin T. Quinn
U.S. District Court for the District of New Jersey
Clarkson S. Fisher Building and Courthouse
402 East State Street
Trenton, NJ 08608

Re:       His All Holiness Bartholomew I., et al. v. Princeton University
          Civil Case No. 3:18-CV-17195-RK-JTQ

Dear Hon. Judge Quinn:

This firm together with Hahn Loeser, represent Defendant, the Trustees of Princeton University
(“Princeton”), in the above-referenced action. Following comprehensive letter-briefing, the Court
(Hon. Judge Singh), permitted Princeton to file a formal discovery motion seeking (1) sanctions
for failing to comply with an Order compelling Plaintiffs to produce for deposition Plaintiffs’
agent and non-testifying expert, Prof. George Papazoglou, and (2) for an Order compelling
Plaintiffs to produce certain documents (“Motion”). [ECF No. 153.]

Plaintiffs, His All Holiness Bartholomew I, the Archbishop of Constantinople, New Rome, and
Ecumenical Patriarch (“Patriarch”), The Holy Metropolis of Drama (“Metropolis”), and the
Monastery of Theotokos Eikosiphoinissa (“Monastery” and collectively “Plaintiffs”), recently
filed an Opposition Brief to Princeton’s Motion (“Opposition Brief”). [ECF No. 157].

Although Princeton’s Motion attempted to affirmatively address the arguments from the pre-
motion letter-briefing, the Opposition Brief includes new arguments and contains several
misstatements of fact. Princeton, therefore, writes pursuant to Local Rules 7.1(d)(3) & 37.1(a)(3)
to request permission to file a short Reply brief, addressing these new arguments and
misstatements, including:

      1. Plaintiffs’ erroneous assertion that the “30 Year Email” [ECF No. 155-2] is “uncertified,”
         and its translation potentially incorrect.

      2. Plaintiffs’ argument that a different Papazoglou e-mail supports Plaintiffs’ claims, despite
         that e-mail ostensibly being part of Plaintiffs’ attempt to provide a false discovery rule
         narrative and Papazoglou admitting that “there are things which cannot and should not be
         shared in writing.”

                    821 ALEXANDER ROAD, SUITE 200  P.O. BOX 3663  PRINCETON, NJ 08543-3663
                                    TEL: (609) 951-9520  FAX: (609) 951-0270
                                           WWW.WONGFLEMING.COM

                    CALIFORNIA  FLORIDA  GEORGIA  ILLINOIS  INDIANA  MICHIGAN
              NEW JERSEY  NEW YORK  PENNSYLVANIA  TENNESSEE  TEXAS  WASHINGTON
              ATTORNEYS ADMITTED SOLELY IN THE JURISDICTION WHERE LISTED OFFICE IS LOCATED, UNLESS OTHERWISE NOTED
Case 3:18-cv-17195-RK-JTQ Document 160 Filed 06/14/24 Page 2 of 2 PageID: 2124




      3. Plaintiffs’ assertion that high-level clergy (e.g., Metropolitan Dionysios) often do not
         author their own books, despite the Metropolis’ deposition showing that there is no
         support for this contention, the language of Met. Dionysios’s book refuting this assertion,
         the Metropolis identifying Met. Dionysios as the author on its website, and the editor of
         the book confirming Met. Dionysios’ authorship.

      4. Plaintiffs’ unsupported, and incorrect claim that Princeton was aware of the Monastery’s
         1998 Book prior to the Monastery producing it during deposition.

      5. Plaintiffs’ inaccurate assertion, contradicted by Plaintiffs’ deposition testimony, that
         Princeton is not prejudiced by the absence of Papazoglou’s testimony because “other
         witnesses have testified concerning information conveyed by Papazoglou to Plaintiffs.”

      6. The constitutionally incorrect argument that Plaintiffs, the party that brought this lawsuit
         in the United States, are entitled to “special protection” when it comes to discovery that
         places them in “disadvantageous positions” because they are foreign litigants.

      7. Plaintiffs’ mistaken contention that Princeton, through a catalog written by unaffiliated
         third-parties, has admitted to the theft of the at-issue manuscripts.

      8. Plaintiffs’ claim that Papazoglou is not under their control, or an agent of Plaintiffs, when
         the Court has already considered this issue on three occasions and rejected it.

If the Court will be considering Plaintiffs’ new arguments, and its factual inaccuracies, Princeton
respectfully requests permission to file a short Reply. If permitted, Princeton’s Reply brief
will not exceed ten pages, and can be filed within five court days of the Court granting the
requested permission.

Respectfully submitted,
                                                                    IT IS SO ORDERED
/s/ Linda Wong                                                      this 14th day of June 2024



                                                                     Hon. Justin T. Quinn, U.S.M.J.
Samuel Sneed

cc:     All Counsel of Record (via electronic case filing)


  --opposed




                                                   2
